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Table H-3.
U.S. District Courts—Pretrial Services Recommendations Made
For Initial Pretrial Release For the 12-Month Period Ending September 30, 2018

                                       Type of PSO1 Recommendation Made3                                 Type of AUSA2 Recommendation Made3
                                                                                                   AUSA
                            PSO Recommended        Detention               Release             Recommendation         Detention             Release
 Circuit and    Cases
   District    Activated     Total     Pct.     Total      Pct.       Total          Pct.      Total     Pct.      Total      Pct.       Total        Pct.


      TOTAL        99,494     90,398     90.9    64,336        71.2    26,062          28.8     90,684     91.1     67,169        74.1    23,515        25.9


1ST                 2,483      2,209     89.0     1,549        70.1        660         29.9      2,206     88.8      1,789        81.1        417       18.9

        ME            203        157     77.3        81        51.6         76         48.4        157     77.3         94        59.9         63       40.1
        MA            581        433     74.5       259        59.8        174         40.2        437     75.2        292        66.8        145       33.2
        NH            229        166     72.5       110        66.3         56         33.7        165     72.1        115        69.7         50       30.3
        RI            168        161     95.8        86        53.4         75         46.6        161     95.8        109        67.7         52       32.3
        PR          1,302      1,292     99.2     1,013        78.4        279         21.6      1,286     98.8      1,179        91.7        107        8.3

2ND                 4,036      3,826     94.8     1,937        50.6     1,889           49.4     3,812     94.4      2,368        62.1     1,444         37.9

        CT            415        327     78.8       167        51.1        160         48.9        318     76.6        196        61.6        122       38.4
        NY,N          410        388     94.6       269        69.3        119         30.7        389     94.9        271        69.7        118       30.3
        NY,E          895        865     96.6       369        42.7        496         57.3        859     96.0        542        63.1        317       36.9
        NY,S        1,631      1,612     98.8       774        48.0        838         52.0      1,612     98.8        921        57.1        691       42.9
        NY,W          509        493     96.9       261        52.9        232         47.1        493     96.9        323        65.5        170       34.5
        VT            176        141     80.1        97        68.8         44         31.2        141     80.1        115        81.6         26       18.4

3RD                 2,853      2,522     88.4     1,425        56.5     1,097           43.5     2,530     88.7      1,522        60.2     1,008         39.8

        DE            116        108     93.1        86        79.6         22         20.4        108     93.1         90        83.3         18       16.7
        NJ            962        911     94.7       431        47.3        480         52.7        911     94.7        451        49.5        460       50.5
        PA,E          631        620     98.3       384        61.9        236         38.1        620     98.3        413        66.6        207       33.4
        PA,M          558        360     64.5       224        62.2        136         37.8        358     64.2        224        62.6        134       37.4
        PA,W          509        474     93.1       262        55.3        212         44.7        480     94.3        302        62.9        178       37.1
        VI             77         49     63.6        38        77.6         11         22.4         53     68.8         42        79.2         11       20.8

4TH                 5,943      4,407     74.2     2,713        61.6     1,694           38.4     4,539     76.4      3,156        69.5     1,383        30.5

        MD            704        672     95.5       457        68.0        215         32.0        668     94.9        470        70.4        198       29.6
        NC,E          923        710     76.9       554        78.0        156         22.0        708     76.7        616        87.0         92       13.0
        NC,M          332        311     93.7       194        62.4        117         37.6        310     93.4        230        74.2         80       25.8
        NC,W          642        604     94.1       451        74.7        153         25.3        604     94.1        477        79.0        127       21.0
        SC          1,036        649     62.6       313        48.2        336         51.8        637     61.5        379        59.5        258       40.5
        VA,E        1,379        795     57.7       334        42.0        461         58.0        944     68.5        568        60.2        376       39.8
        VA,W          286        201     70.3       125        62.2         76         37.8        179     62.6        116        64.8         63       35.2
        WV,N          334        234     70.1       113        48.3        121         51.7        255     76.3        122        47.8        133       52.2
        WV,S          307        231     75.2       172        74.5         59         25.5        234     76.2        178        76.1         56       23.9




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                                                                              EXHIBIT
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Table H-3. (September 2018—Continued)
                                       Type of PSO1 Recommendation Made3                                 Type of AUSA2 Recommendation Made3
                                                                                                   AUSA
                            PSO Recommended        Detention               Release             Recommendation         Detention             Release
 Circuit and    Cases
   District    Activated     Total     Pct.     Total      Pct.       Total          Pct.      Total     Pct.      Total      Pct.       Total        Pct.

5TH                21,878     20,130     92.0    16,390        81.4     3,740          18.6     20,097     91.9     17,251        85.8     2,846        14.2

      LA,E            333        305     91.6        174       57.0       131          43.0        305     91.6        198        64.9       107        35.1
      LA,M            223        176     78.9         83       47.2        93          52.8        176     78.9        125        71.0        51        29.0
      LA,W            328        214     65.2        131       61.2        83          38.8        213     64.9        139        65.3        74        34.7
      MS,N            195        154     79.0         87       56.5        67          43.5        154     79.0         92        59.7        62        40.3
      MS,S            512        370     72.3        292       78.9        78          21.1        369     72.1        291        78.9        78        21.1
      TX,N            999        936     93.7        542       57.9       394          42.1        929     93.0        696        74.9       233        25.1
      TX,E            838        677     80.8        499       73.7       178          26.3        677     80.8        548        80.9       129        19.1
      TX,S          8,092      7,123     88.0      5,934       83.3     1,189          16.7      7,120     88.0      6,193        87.0       927        13.0
      TX,W         10,358     10,175     98.2      8,648       85.0     1,527          15.0     10,154     98.0      8,969        88.3     1,185        11.7

6TH                 6,098      5,216     85.5     3,310        63.5     1,906          36.5      5,246     86.0      3,625        69.1     1,621        30.9

      KY,E            463        364     78.6       260        71.4        104         28.6        364     78.6        261        71.7        103       28.3
      KY,W            332        274     82.5       167        60.9        107         39.1        273     82.2        182        66.7         91       33.3
      MI,E          1,125      1,023     90.9       572        55.9        451         44.1      1,022     90.8        626        61.3        396       38.7
      MI,W            460        443     96.3       262        59.1        181         40.9        443     96.3        313        70.7        130       29.3
      OH,N            912        798     87.5       544        68.2        254         31.8        803     88.0        566        70.5        237       29.5
      OH,S            888        734     82.7       319        43.5        415         56.5        733     82.5        393        53.6        340       46.4
      TN,E            842        793     94.2       661        83.4        132         16.6        794     94.3        695        87.5         99       12.5
      TN,M            362        241     66.6       172        71.4         69         28.6        302     83.4        234        77.5         68       22.5
      TN,W            714        546     76.5       353        64.7        193         35.3        512     71.7        355        69.3        157       30.7

7TH                 3,126      2,731     87.4     1,619        59.3     1,112          40.7      2,712     86.8      1,940        71.5        772       28.5

      IL,N            908        863     95.0       422        48.9        441         51.1        861     94.8        606        70.4        255        29.6
      IL,C            301        287     95.3       218        76.0         69         24.0        285     94.7        224        78.6         61        21.4
      IL,S            305        223     73.1       127        57.0         96         43.0        223     73.1        149        66.8         74        33.2
      IN,N            468        446     95.3       297        66.6        149         33.4        447     95.5        323        72.3        124        27.7
      IN,S            623        552     88.6       400        72.5        152         27.5        536     86.0        446        83.2         90        16.8
      WI,E            351        282     80.3       114        40.4        168         59.6        282     80.3        150        53.2        132        46.8
      WI,W            170         78     45.9        41        52.6         37         47.4         78     45.9         42        53.8         36        46.2

8TH                 6,107      5,426     88.8      3,648       67.2     1,778           32.8     5,401     88.4      4,204        77.8     1,197        22.2

      AR,E            659        493     74.8       248        50.3        245         49.7        493     74.8        281        57.0        212       43.0
      AR,W            245        211     86.1       190        90.0         21         10.0        211     86.1        190        90.0         21       10.0
      IA,N            410        368     89.8       279        75.8         89         24.2        366     89.3        302        82.5         64       17.5
      IA,S            524        479     91.4       310        64.7        169         35.3        479     91.4        359        74.9        120       25.1
      MN              372        332     89.2       197        59.3        135         40.7        313     84.1        230        73.5         83       26.5
      MO,E          1,560      1,497     96.0     1,129        75.4        368         24.6      1,505     96.5      1,229        81.7        276       18.3
      MO,W            835        746     89.3       497        66.6        249         33.4        743     89.0        635        85.5        108       14.5
      NE              596        545     91.4       380        69.7        165         30.3        536     89.9        419        78.2        117       21.8
      ND              356        245     68.8       143        58.4        102         41.6        246     69.1        160        65.0         86       35.0
      SD              550        510     92.7       275        53.9        235         46.1        509     92.5        399        78.4        110       21.6




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Table H-3. (September 2018—Continued)
                                                  Type of PSO1 Recommendation Made3                                    Type of AUSA2 Recommendation Made3
                                                                                                                 AUSA
                                   PSO Recommended               Detention               Release             Recommendation         Detention             Release
    Circuit and       Cases
      District       Activated         Total      Pct.        Total        Pct.      Total         Pct.      Total     Pct.      Total      Pct.       Total        Pct.

9TH                       32,004        30,641       95.7       22,485        73.4      8,156        26.6     30,591     95.6     21,566        70.5     9,025        29.5

          AK                 233           217       93.1          169        77.9         48        22.1        216     92.7        179        82.9        37        17.1
          AZ              16,010        15,369       96.0       14,339        93.3      1,030         6.7     15,360     95.9     14,684        95.6       676         4.4
          CA,N               670           666       99.4          285        42.8        381        57.2        666     99.4        405        60.8       261        39.2
          CA,E               686           674       98.3          468        69.4        206        30.6        674     98.3        575        85.3        99        14.7
          CA,C             1,846         1,773       96.0        1,096        61.8        677        38.2      1,772     96.0      1,255        70.8       517        29.2
          CA,S             8,851         8,705       98.4        4,371        50.2      4,334        49.8      8,670     98.0      2,359        27.2     6,311        72.8
          HI                 233           204       87.6           67        32.8        137        67.2        204     87.6        140        68.6        64        31.4
          ID                 425           293       68.9          178        60.8        115        39.2        285     67.1        217        76.1        68        23.9
          MT                 436           363       83.3          237        65.3        126        34.7        363     83.3        238        65.6       125        34.4
          NV                 648           605       93.4          411        67.9        194        32.1        604     93.2        464        76.8       140        23.2
          OR                 568           538       94.7          289        53.7        249        46.3        538     94.7        356        66.2       182        33.8
          WA,E               431           305       70.8          213        69.8         92        30.2        313     72.6        294        93.9        19         6.1
          WA,W               907           873       96.3          342        39.2        531        60.8        870     95.9        377        43.3       493        56.7
          GUAM                45            43       95.6           12        27.9         31        72.1         43     95.6         14        32.6        29        67.4
          NM,I                15            13       86.7            8        61.5          5        38.5         13     86.7          9        69.2         4        30.8

10TH                       7,533         7,022       93.2        5,587        79.6      1,435         20.4     7,021     93.2      5,844        83.2     1,177         16.8

          CO                 629           523       83.1          359        68.6       164         31.4        522     83.0        397        76.1        125       23.9
          KS                 532           486       91.4          310        63.8       176         36.2        486     91.4        327        67.3        159       32.7
          NM               4,483         4,353       97.1        3,902        89.6       451         10.4      4,353     97.1      3,988        91.6        365        8.4
          OK,N               253           200       79.1           95        47.5       105         52.5        200     79.1        108        54.0         92       46.0
          OK,E               149           138       92.6          105        76.1        33         23.9        139     93.3        114        82.0         25       18.0
          OK,W               612           572       93.5          252        44.1       320         55.9        572     93.5        279        48.8        293       51.2
          UT                 635           580       91.3          437        75.3       143         24.7        580     91.3        481        82.9         99       17.1
          WY                 240           170       70.8          127        74.7        43         25.3        169     70.4        150        88.8         19       11.2

11TH                       7,433         6,268       84.3        3,673        58.6      2,595         41.4     6,529     87.8      3,904        59.8     2,625         40.2

          AL,N               536           331       61.8          179        54.1       152         45.9        331     61.8        182        55.0       149        45.0
          AL,M               240           207       86.3          105        50.7       102         49.3        206     85.8        111        53.9        95        46.1
          AL,S               354           195       55.1           96        49.2        99         50.8        192     54.2        120        62.5        72        37.5
          FL,N               364           312       85.7          153        49.0       159         51.0        307     84.3        185        60.3       122        39.7
          FL,M             1,805         1,654       91.6        1,019        61.6       635         38.4      1,653     91.6      1,248        75.5       405        24.5
          FL,S             2,551         2,204       86.4        1,261        57.2       943         42.8      2,504     98.2      1,121        44.8     1,383        55.2
          GA,N               721           645       89.5          380        58.9       265         41.1        632     87.7        412        65.2       220        34.8
          GA,M               482           383       79.5          206        53.8       177         46.2        372     77.2        251        67.5       121        32.5
          GA,S               380           337       88.7          274        81.3        63         18.7        332     87.4        274        82.5        58        17.5

NOTE: This table excludes data for the District of Columbia and includes transfers received.
1
    PSO = Pretrial Services Officer.
2
    AUSA = Assistant U.S. Attorney.
3
    Excludes dismissals and cases in which release is not possible within 90 days.




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